Case 5:08-cv-00327-NPM-ATB Document 71 Filed 01/07/10 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF NEW YORK


JOSEPH VISCOMI, FIRST DESTINY
REAL ESTATE, INC.,

                          Plaintiffs,

             -v.-                                    5:08-CV-00327(NPM/ATB)

EXCELSIOR INSURANCE COMPANY,
                 Defendant.

APPEARANCES:                                  OF COUNSEL:

FOR THE PLAINTIFF:
DeFrancisco Law Firm                         Charles L. Falgiatano, Esq.
121 East Water Street
Syracuse, NY 13202

FOR THE DEFENDANT:

Mura, Storm Law Firm                          Roy A. Mura, Esq.
14 Lafayette Square
930 Rand Building
Buffalo, NY 14203

NEIL P. MCCURN,
SENIOR U.S. DISTRICT JUDGE


                      JUDGMENT DISMISSING ACTION
                        BASED UPON SETTLEMENT

      The parties have entered into an agreement in settlement of all claims in

this action, and that they reasonably anticipate finalizing their agreement shortly,
Case 5:08-cv-00327-NPM-ATB Document 71 Filed 01/07/10 Page 2 of 2




following which this action will be discontinued, with prejudice, by stipulation

pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure. Based upon

this development, I find that it is not necessary for this action to remain on the

court’s active docket.

      It is therefore hereby

      ORDERED, as follows:

      1)     This action is dismissed, with prejudice, except as set forth below.

      2)     The court will retain complete jurisdiction to vacate this order and to

reopen the action within six months from the date of this order upon cause shown

that the settlement has not been completed and further litigation is necessary.

      3)     The Clerk shall forthwith serve copies of this judgment upon the

parties and/or their attorneys appearing in this action by electronic means.

Dated:       January 7, 2009
             Syracuse, New York




                                          2
